 Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 1 of 8 PageID 190




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

V.                                         CASE NO. 3:23-cr-180-HES-JBT

NOAH MICHAEL URBAN
  aka "Sosa"
  aka "Elijah"
  aka "Gustavo Pring"
  aka "King Bob"


     UNITED STATES' RESPONSE IN OPPOSITION TO DEFENDANT'S
         MOTION FOR REVOCATION OF DETENTION ORDER

       The United States of America, by Roger B. Handberg, United States Attorney

for the Middle District of Florida, files this response in opposition to defendant's

Motion for Revocation of Detention Order (Doc. 33). Since Magistrate Judge Toomey

properly analyzed the information presented at the detention hearing and correctly

applied the applicable statutory authority and the defendant has failed to identify any

legitimate legal infirmity in the Magistrate Judge's detention order, this Court should

deny the defendant's Motion and explicitly adopt the Magistrate Judge's order of

pretrial detention.

                         Factual and Procedural Summary

      On December 20, 2024, a federal grand jury in Jacksonville returned a fourteen­

count indictment against the defendant for violations of 18 U.S.C. §§ 1343 Conspiracy

to Commit Wire Fraud, 1349 Wire Fraud, and 1028A(a)(l) Access Device Fraud.

The indictment alleges that the Defendant used the name, credentials, and email
Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 2 of 8 PageID 191




accounts of at least five victims m order to take money from the five victim's

cryptocurrency accounts and then transfer that money to the Defendant's personal

accounts. (Doc 1) These five victims lost more than $800,000 dollars as a result of the

Defendant's alleged conduct. (Doc 1)

      The Defendant was located at an Airbnb in Volusia County using an alias and

was arrested on January 10. 2024. The United States moved for detention on the

grounds that he was a serious risk to flee and a serious risk he will obstruct justice. A

detention hearing took place on January 19, 2024, where the United States proffered

evidence to Magistrate Judge Toomey explaining the reasons that there were no

conditions of release that would reasonably assure the appearance of the Defendant as

required and that the Defendant was a danger to the community. Magistrate Judge

Toomey agreed with the United States and ordered the Defendant detained. (Doc. 26).

Magistrate Judge Toomey listed factors in his order (Doc. 26) supporting detention to

include:

      1. Weight of Evidence against the Defendant is strong.

      2. Subject to lengthy period of incarceration if convicted.

      3. Lack of stable employment.

      4. Lack of stable residence.

      5. Use of alias(es) or false documents.

       The Defendant argues that there are conditions of release that would be

appropriate instead of detention and that the United States has not met its burden. It

is the position of the United States that no conditions of release would be appropriate,

                                           2
 Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 3 of 8 PageID 192




and that the United States clearly established that the Defendant was a serious risk of

flight, a serious risk that the Defendant would obstruct justice, and that all the factors

to be considered in the statute lead to the conclusion that the Defendant is a danger to

the community.

                                 Memorandum of Law

       Standard of review

       Title 18, United States Code, Section 3145(b) states in pertinent part:

                If a person is ordered detained by a magistrate judge, ...
                the person may file, with the court having original
                jurisdiction over the offense, a motion for revocation or
                amendment of the order. The motion shall be determined
                promptly.

The Magistrate Judge's pretrial detention order is subject to plenary review by this

Court; the Court must undertake an independent review of the case, enter its own

findings in writing, and set forth the reasons supporting its decision, making provisions

as set forth in 18 U.S.C. § 3142(i)(l) to (4). See United States v. Hurtado, 779 F.2d 1467,

1480-81 (11th Cir. 1985) (citing, inter alia, United States v. Beesley, 601 F. Supp. 82, 83

(N.D. Ga. 1984); United States v. Thibodeaux, 663 F.2d 520 (5th Cir. 1981)). This

"independent review" has been characterized as "de nova review." See United States v.

Gaviria, 828 F.2d 667,670 (11th Cir. 1987) ("In Hurtado, we held that denovo review

requires the court to exercise independent consideration of all facts properly before it

and to include written findings of fact and a written statement of the reasons for the

detention.").



                                            3
 Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 4 of 8 PageID 193




       Notably, de nova review does not require this Court to hold a de nova hearing -

provided the Court exercises independent consideration of all the facts properly before

it. Gaviria, 828 F.2d at 670.,· United States v. King, 849 F .2d 485, 489-90 (11th Cir. 1988)

(discussing Hurtado and Gaviria). Moreover, this Court is entitled to base its de nova

review on proffered evidence rather than sworn testimony. Gaviria, 828 F.2d at 670

(finding no error where district court based its de nova review of detention order on the

parties' memoranda of law and a transcript of the proceedings before the magistrate

judge, in which both parties proffered evidence instead of presenting sworn testimony).

Cf id. at 669 (holding that "the government as well as the defense may proceed by

proffering evidence subject to the discretion of the judicial officer presiding at the

detention hearing" and observing that the legislative history of the Bail Reform Act

indicates that Congress anticipated that "the use of sworn testimony [would] be the

exception and not the rule").

      The King court clarified the requirement that a district court engaged in de nova

review of a magistrate judge's order of detention may enter written findings and a

statement of reasons. Pursuant to King, based on a careful review of the pleadings and

the evidence developed at the Magistrate Judge's detention hearing, this Court may

determine that the Magistrate Judge's factual findings are supported, and his legal

conclusions are correct. In that event, this Court may explicitly adopt the detention

order, without entering its own written findings of fact and statement of reasons . See

King, 849 F.2d at 490.

      In the alternative, this Court may determine that additional evidence 1s

                                             4
 Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 5 of 8 PageID 194




necessary or that factual issues remain unresolved and may conduct an evidentiary

hearing. Id. at 490-91. Then, if this Court concludes that the additional evidence does

not affect the validity of the Magistrate Judge's findings and conclusions, it may state

its reasons and explicitly adopt the Magistrate Judge's order. Id. If this Court

determines that pretrial detention is appropriate but disagrees with the Magistrate

Judge's fmdings of fact or conclusions of law, the Court may adopt the Magistrate

Judge's order; however, it must prepare a written order in which it specifies those

portions of the Magistrate Judge's pretrial detention order which it fmds either

incorrect or unsupported by the evidence. Id. at 491.

      Defendant's Motion Should be Denied.

        The Magistrate Judge's decision to detain the defendant was correct. A de novo

review by this Court of the proffered information in light of the factors listed in

§ 3 l 42(g)( 1) through (4), support the Magistrate Judge's decision.

      The Defendant in his motion argues that the court could have released the

Defendant to the witnesses, (Defendant's parents) presented at the detention hearing

as third-party custodians. However, even his own parents, presented obstacles in their

ability to serve as such. For example, Defendant's father, Dr. Urban stated that among

other things: The Defendant was living in various Airbnb's, did not have any

employment whatsoever but was paying his father rent to live in a previous house, and

was so intelligent that he could possibly use his father's Wi-Fi even if not being told

the password. (Transcript of hearing, Doc. 35 pages 29-36). The Defendant's mother,

Ms. Jennifer Walck stated that among other things: The Defendant would not follow

                                            5
Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 6 of 8 PageID 195




her rules and was kicked out of her home, that she did not trust him on computers,

and that he was secretive. (Doc. 35 Pages 39-41). It was clear from the evidence that

even the Defendant's own parents, witnesses provided by the Defendant himself,

would be unable to deal with the Defendant if he was released.

       The Defendant further argues that he was not deleting evidence when the FBI

executed the search warrant on the residence, whereby finding all the evidence of the

crimes listed in the indictment on his personal computer, but rather he was "putting a

stronger encryption on an already encrypted computer" (Doc 33 Page 12). The

Defendant's new assertion is even a stronger argument that he should be detained due

to obstruction of justice. If the Defendant was "at least" deleting the files, it would

tend to show he was abandoning them in the hopes of making sure that no one has

access to them ever again. But the Defendant wanted to encrypt an already encrypted

computer to ensure that the Defendant would still have access to all the encrypted

information, but that the government would not have access to information. This is

classic obstruction as defined by Black's Law Dictionary: to impede or hinder; to

impose obstacles or impediments.

       Magistrate Judge Toomey evaluated these factors and more when he concluded

that the Defendant should be detained. Magistrate Judge Toomey listened to the

proffer of the United States and the witnesses and argument presented by the

Defendant and found that the Defendant should be detained for numerous reasons to

include: the use of an alias, no employment history, when the Defendant came to court

he said he had no address, telling pretrial services that he had no fixed address, the fact

                                            6
Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 7 of 8 PageID 196




that he declined to answer any questions about his financial situation, (which

Magistrate Judge Toomey points out that he has a right to, but there is no explanation

for how he is able to pay for rent, Airbnb's, and other personal property) the nature of

the sophisticated crimes, communicating with co-conspirators after telling the United

States he would not, not providing a urine sample, and overall having a pattern of not

being straightforward and attempting to hide whatever situation is going on with the

Defendant. (Doc. 35 page 45).

      The United States agrees with Magistrate Judge Toomey's Order of Detention

of the Defendant and respectfully requests the Defendant's motion be Denied.


                                         Respectfully submitted,

                                         ROGER B. HANDBERG
                                         United States Attorney


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                                           7
Case 3:23-cr-00180-HES-JBT Document 37 Filed 03/28/24 Page 8 of 8 PageID 197




United States v. Noah Michael Urban                CASE NO. 3:23-cr-180-HES-JBT


                             CERTIFICATE OF SERVICE


       I hereby certify that on March 28, 2024 I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:


        Kathryn E. Sheldon, Esq.




                                         Assistant United States Attorney




                                           8
